                                                                                                                   ACCEPTED
                                                                                                               05-19-00385-CV
               Case 1:21-cv-00892-RP Document 12 Filed 12/06/21 Page 1 of 7                          FIFTH COURT OF APPEALS
                                                                                                               DALLAS, TEXAS
                                                                                                            10/27/2021 4:22 PM
                                                                                                                    LISA MATZ
         RECEIVED                                                                                                       CLERK
        December 06, 2021
       CLERK, U.S. DISTRICT COURT
       WESTERN DISTRICT OF TEXAS         October 27th, 2021
                    JMV
    BY:_______________________________


                                                                        FILED
                            DEPUTY


                                                                  December 06, 2021
                                                                 CLERK, U.S. DISTRICT COURT
                                                                 WESTERN DISTRICT OF TEXAS
Dallas County District Clerk Felicia Pitre                                    JMV
                                                              BY: ________________________________
                                                                                      DEPUTY
600 Commerce Street Suite 103
Dallas, Texas 75202
(214) 653-7301
felicia.pitre@dallascounty.org


And:


Dallas 5th Court of Appeals Clerk Lisa Matz
600 Commerce Street Suite 200
Dallas , Texas 75202
(214) 712-3450
TheClerk@5th.txcourts.gov


And:


Supreme Court of Texas
Clerk: Blake A. Hawthorne
Deputy Clerk: Kristen Golby
201 W. 14th Street, Room 104
Austin, Texas 78701
(512) 463-1312
kristen.golby@txcourts.gov


And:


Defendant’s Counsel: Donald E. Uloth

Texas Bar No. 20374200

18208 Preston Rd. Suite D-9 #261

Dallas, Texas 75252


                                                                                                           1
           Case 1:21-cv-00892-RP Document 12 Filed 12/06/21 Page 2 of 7



Phone: (214) 989-43

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Email: don.uloth@uloth.pro



And:



Trial Court Coordinator: Dallas 162nd District Court

Court Coordinator: Melinda Thomas

600 Commerce Street, Room 730 B

Dallas, Texas 75202

(214) 653-7348

mthomas@dallascourts.org




                 Re: Kimberly D. Hogan Vs. Aspire Financial Inc.
                         No. 1:21-CV-0892-RP United States District Court Western District of
                              Texas Austin Division
                         No. 21-0556 in Supreme Court of Texas
                         No. 05-19-00385-CV in Dallas 5th Appellate court
                                        And the Lower Court:
                         No. DC-18-01806 in Dallas County 162nd District Court




I, Kimberly D. Hogan received this e-mail (see below) with these attached PDF Documents (see
below) from Lisa Matz AFTER BUSINESS HOURS (as always from Lisa Matz), interestingly the
very following day after you all who were avoiding being Served finally got Served your papers
when I finally successfully Submitted this Accepted Filing:
https://documentcloud.adobe.com/link/review?uri=urn:aaid:scds:US:dbc2652f-7e0e-469a-b
44b-e3565a120584


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                                                               5
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Now Lisa Matz, what I want to know is:

   1.) Were my Records Evidence and Exhibits Destroyed?
   2.) Were my Records Evidence and Exhibits ORDERED to be Destroyed?
   3.) If so, Who Ordered my Records Evidence and Exhibits to be Destroyed?
   4.) And if so, When were my Records Evidence and Exhibits Destroyed?
   5.) And, Why would my Records Evidence and Exhibits be Ordered to be Destroyed
      during a Live and Open Ongoing Case!?


IF such an Order to Destroy my Records Evidence and Exhibits exists I insist a copy of
that Order be sent to me immediately!




Submitted,
/s/ Kimberly D. Hogan

Kimberly D. Hogan

10015 Lake Creek Pkwy. #621

Austin, Texas 78729

(303)246-1587

kdhogan@ymail.com




                                                                                         6
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Envelope ID: 58603287
Status as of 10/27/2021 4:26 PM CST

Associated Case Party: Aspire Financial, Inc.

Name            BarNumber   Email                            TimestampSubmitted       Status

Donald Uloth                don.uloth@uloth.pro              10/27/2021 4:22:21 PM SENT

Felicia Pitre               felicia.pitre@dallascounty.org   10/27/2021 4:22:21 PM SENT

Lisa Matz                   TheClerk@5th.txcourts.gov        10/27/2021 4:22:21 PM SENT



Case Contacts

Name              BarNumber    Email                          TimestampSubmitted       Status

Melinda Thomas                 mthomas@dallascourts.org 10/27/2021 4:22:21 PM          SENT

Kristen Golby                  kristen.golby@txcourts.gov     10/27/2021 4:22:21 PM    SENT
